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District Court Case No. 2:18-cv-10188-AG

 

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT,
SANTA ANA DIVISION

 

IN RE: STEVEN MARK ROSENBERG,
Debtor.

 

STEVEN MARK ROSENBERG
Appellant,

Vs.

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
TRUSTEE FOR ALLIANCE BANCORP, MORTGAGE BACKED
CERTIFICATE SERIES 2007-OA1, MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC., OCWEN LOAN SERVICING,

LLC,
Appellees.

 

Appeal from the U.S. Bankruptcy Court, Central District of
California, Case No. Case No. 1:17-bk-11748-VK, A.P. Case No.
1:17-ap-01096-vk, Hon. Victoria S. Kaufman,

Hon. Andrew J. Guilford, District Court Judge

 

APPELLEE’S BRIEF _

 

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Corporate Disclosure Statement

Appellee Deutsche Bank National Trust
Company is a National Association and subsidiary of

Deutsche Bank Trust Corporation.

DATED: August 2, 2019 GARRETT & TULLY, P.C.
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Mortgage Backed Certificate Series
2007-OA1
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Certification of Interested Parties

Pursuant to rule 8015(a)-1(a) of the Federal Rules

of Bankruptcy, there are no interested entities or

persons required to be listed.

DATED: August 2, 2019

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2007-OA1
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I.

Summary of arguments.

The bankruptcy court’s grant of
Defendant/Appellee Deutsche Bank National Trust
Company, as Trustee for Alliance Bancorp Mortgage
Backed Certificate Series 2007-OAl’s (“Deutsche
Bank”) motion for judgment on the pleadings should be
affirmed and _  Plaintiff/Appellant Steven Mark
Rosenberg (“Rosenberg”) should not be permitted to
amend his hopelessly defective complaint.

The underlying bankruptcy adversary proceeding
stems from a $390,000 loan to Isadore Rosenberg,
Rosenberg’s deceased father. The loan was issued in
2007 and secured by a deed of trust for the same
amount on real property located in Los Angeles
County. Deutsche Bank is the current owner of the
loan and beneficiary of the deed of trust.

In Rosenberg’s complaint, he alleges that soon
after his father’s death in 2008, he allegedly discovered
his father’s caregiver, not his father, had fraudulently
obtained and authorized the subject loan and deed of
trust.

Rosenberg further alleges that in August 2009,

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after the loan went into default and the non-judicial
foreclosure process was initiated (but never completed),
he instituted a probate action against some of the same
entities named in this instant action. The probate case,
in part, challenged the legality and enforceability of the
note, deed of trust, and pending foreclosure.

After prosecuting the probate action for over five
years, Rosenberg voluntarily dismissed the probate
action in January 2015 and instituted this adversary
proceeding over two years later, in November 2017.

In this adversary proceeding, like the probate
action before it, Rosenberg seeks to invalidate the loan
and deed of trust on the basis of fraud and the alleged
invalidity of the assignments and_ securitization
documents concerning the loan and deed of trust.

After the bankruptcy court granted Deutsche
Bank’s motion for judgment on the pleadings without
leave to amend, Rosenberg instituted this appeal
challenging some—but not all—of the bankruptcy
court’s holding.

As to those issues not raised in the opening
brief—namely claims relating to 11 U.S.C. section
524(a)(2), 18 U.S.C. section 157, and allegations of
Deutsche Bank’s purported failure to file a proof of
claim—Rosenberg has waived any challenge to these

issues, and this Court need not consider them. (See Jn
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re Burnett, 435 F.3d 971, 976-977 (9th Cir. 2016).)
Rosenberg’s appeal is narrowly focused on two
issues:

1. Rosenberg contends that despite not being
party to the assignments of the deed of trust
or securitization documents, he has
standing, pre-foreclosure, to challenge
these agreements and _ the _ pending
foreclosure sale.

2. Rosenberg contends that even if he waited
almost nine years after discovery of the
alleged fraud to file this adversary
proceeding, his causes of action based on
fraud, forgery, recession, and cancellation of
instrument (which are the gravamen of the
entire complaint) are not barred by the
applicable three and four year statutes of
limitations mandated for these claims
because this action was purportedly tolled
by the doctrines of equitable tolling and
continuing violation.

Rosenberg misses the mark on both issues.

The bankruptcy court correctly held that
Rosenberg did not have standing to prosecute his
claims: “California Courts of Appeal have held that a

homeowner lacks standing in a pre-foreclosure action
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to challenge a foreclosure sale.” (ASA, p. 313)! [citing
Saterbak vu. JPMorgan Chase Bank N.A., 245
Cal.App.4th 808 (2016) (Saterbak); Yhudai v. IMPAC
Funding Corp., 1 Cal.App.5th 1252 (2016) (Yhudaz).)
Furthermore, the bankruptcy court properly
determined that as a non-party to the assignments,
who also was not a third party beneficiary, Rosenberg
lacked standing, pre-foreclosure, to argue the
voidability of the assignments of the deed of trust.
(ASA, p. 314.)

In Rosenberg’s opposition to Deutsche Bank's
motion for judgment on the pleadings, he contended
that this adversary proceeding was equitably tolled
because it is “a continuation [of] the [probate] litigation
that was initiated in 2009.” (ASA, p. 231.) This was the
only argument Rosenberg asserted in support of his
equitable tolling theory.

The bankruptcy court accurately ruled that
Rosenberg’s claims were time barred and not equitably
tolled because no authority in this state has ever held
that a bankruptcy adversary proceeding is a
continuation of a probate matter. (ASA, p. 311.)

In this appeal, upon realizing the deficiencies

with his argument, Rosenberg abandoned the

 

1 References in this brief to “(ASA__)” are to Appellee’s
Supplemental Appendix.

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“continuation of litigation” contention. While still
contending that his claims were equitably tolled (which
they were not because Rosenberg did not act diligently,
reasonably, or in good-faith), Rosenberg now avers—for
the first time ever—that his claims were also tolled by
the doctrine of continuing violation. Not so.

First, issues or arguments raised for the first
time on appeal will not be considered. (See In re Starky
522 BR 220, 230 (9th Cir. 2014) [issues not raised
before the bankruptcy court will not be considered on
appeal and are deemed waived]; see also In re Morig.
Electronic Registration Systems, Inc., 555
Fed.Appx.661, 665, 781(9th Cir. 2014).) Thus, this
Court should disregard Rosenberg’s alleged continuing
violation argument.

Second, even if this Court decides to entertain
this untimely argument and accepts Rosenberg’s
contention regarding Deutsche Bank’s alleged fraud as
true (which it is not), there was no continuing violation
because the assignments and securitization were not
“new and independent” conduct—they all arose from
and concerned the same promissory note and deed of
trust.

On the bases of the above facts and arguments,
the bankruptcy court determined Rosenberg’s

complaint did not and could not state any claim for
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relief as a matter of law, and no amount of
amendments could cure these defects. Thus, the
bankruptcy court granted Deutsche Bank’s motion for
judgment on the pleadings without leave to amend.
Since the bankruptcy court’s holding is based on
sound understanding and application of the relevant

legal authorities, this Court should affirm.

II.

Factual and procedural background.

A. The parties.

Rosenberg is the son of borrower Isadore
Rosenberg, who passed away in 2008. (ASA, pp. 20-22.)
Rosenberg is the sole beneficiary of the Isadore and
Norma P. Rosenberg Trust dated May 4, 1990 and
personal representative of the Estate of Isadore
Rosenberg. (ASA, p. 20.)

Deutsche Bank is the current owner and
beneficiary of the subject $390,000 loan and deed of

trust.

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B. Deutsche Bank’s predecessor loans money
to Rosenberg’s father and obtains a deed of
trust.

On or about March 1, 2007, Isadore Rosenberg
obtained a loan from AMPRO Mortgage, a division of
United Financial Mortgage Corp. (““AMPRO”) in the
amount of $390,000.00. (ASA, p. 20, 124-144.) The loan
was secured by a deed of trust for the same amount
encumbering real property located at 15814 Septo
Street, North Hills, California, 91343 (“Property”).
(ASA, p. 126.)

Under the deed of trust, Mortgage Electronic
Registration Systems, Inc. (“MERS”) was the
beneficiary and nominee for the lender and lender’s
successors and assigns. (ASA, p. 124.)

Isadore Rosenberg died on February 4, 2008.
(ASA, p. 148.) Due to Isadore’s? default under the
terms of the loan and deed of trust, a notice of default
was recorded on April 17, 2008 (ASA, pp. 151-152), but
it was subsequently rescinded on November 9, 2015.
(ASA, pp. 172-178.)

On December 2, 2008, a quitclaim deed was

recorded in which appellant Rosenberg, as Successor

 

2 Deutsche Bank means no disrespect by referring to
Isadore Rosenberg by his first name, and only does so
for the sake of clarity.

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Trustee of the Isadore and Norma P. Rosenberg Trust,
Dated May 4, 1990, quitclaimed the Property to
himself, Steven Mark Rosenberg, an unmarried man.
(ASA, pp. 154-156.)

MERS subsequently granted, assigned, and
transferred all beneficial rights and interests under the
deed of trust, including the right to foreclose, to
IndyMac Bank FSB under an Assignment of Deed of
Trust recorded on August 12, 2008. (ASA, pp. 158-159.)
All beneficial rights and interests under the Deed of
Trust, including the right to foreclose, were
subsequently granted, assigned and transferred from
IndyMac Bank FSB to Deutsche Bank National Trust
Company, as Trustee for Alliance 2007-OA1. (ASA, pp.
161-163.)

As evidence of this, but not as the operative
instrument by which this sale and transfer occurred,
an Assignment of Deed of Trust was later recorded on
February 24, 2010. (ASA, p. 162.)

A new Notice of Default was recorded on
November 3, 2015. (ASA, pp. 165-170.) When the
default was not cured, a Notice of Trustee’s Sale was
recorded on May 18, 2017. (ASA, pp. 179-182.)

On March 21, 2017, a corrective Corporate
Assignment of Deed of Trust was recorded against the

Property. (ASA, pp. 175-177.) The purpose of this
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corrective assignment was to correct the name of the
assignee on the 2010 Assignment from Deutsche Bank
National Trust Company as Trustee for Alliance 2007-
OA1 to Deutsche Bank National Trust Company, as
Trustee for Alliance Bancorp Mortgage Backed Pass-
Through Certificate Series 2007-OA1. (ASA, p. 176.).

On December 14, 2017, another corrective
Corporate Assignment of Deed of Trust was recorded
against the Property. (ASA, pp. 184-188.) The purpose
of this corrective assignment was to add the execution
date and to correct the assignor on the Assignment
recorded on 8/12/2008. (ASA, p. 185.)

To date, no foreclosure sale has occurred.

C. Rosenberg institutes a probate action in
August 2009 challenging the validity of the
deed of trust and loan, over five years later,
Rosenberg voluntarily dismisses this action.
On August 27, 2009, Rosenberg filed a petition

under California Probate Code section 850 challenging

OneWestBank’s, MERS’s, and Deutsche Bank’s

interests in the deed of trust and loan. (ASA, pp. 188-

201.)

Specifically, Rosenberg contended that the loan to
his father and accompanying deed of trust were invalid

and unenforceable because Rosenberg’s father did not
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sign or authorize the loan or deed of trust. (ASA, p.
190, 192-196.) Rosenberg contended that the
instruments were fraudulently executed by his father’s
caregiver. (ASA, p. 190.) Rosenberg sought to
permanently block any foreclosure of the Property
under the subject loan and deed of trust. (ASA, p. 192,
p. 196.)

After over five years of purportedly prosecuting
the probate action and fearing the action would be
dismissed by the probate court for failure to bring it to
trial within the five year limit, Rosenberg voluntarily
dismissed the probate action with prejudice in January
2015. (ASA, p. 21, 28, 204, 214 [At the hearing,
Rosenberg stated, “This court needs to dismiss this
case immediately. The rule where claimant fails to
bring an action to trial within five years, and the
manner in which the delay is brought to the court’s
attention is immaterial. And when the courts become
aware of the facts, it must dismiss the action. I am
telling you right now, it has been more than five
years... it’s a public policy matter for ... cases to be
dismissed after five years, mandatory. Why? Because
people die who are integral to the case. People’s
memory fades. In this case, one of the key witnesses
has dementia.”].) The probate court granted

Rosenberg’s request for dismissal and dismissed the
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probate action with prejudice. (ASA, p. 23, 204.)
Subsequently, Rosenberg appealed his own

dismissal with prejudice. (ASA, pp. 209-218.) The

Court of Appeal reversed the order of dismissal,

ordering the probate action dismissed without

prejudice. (ASA, p. 12, p. 217.)

D. In June 2017, Rosenberg files a petition for

Chapter 7 Bankruptcy.

In June 2017, over two years after dismissing the
probate action, Rosenberg filed the underlying Chapter
7 Bankruptcy case, entitled In re: Steven Mark
Rosenberg, Case No. 1:17-bk-11748-VK. (ASA, p. 103,
264.) Rosenberg received a Chapter 7 discharge in
October 2017. (ASA, p. 265.)

E. Almost nine years after discovering the
alleged fraud and relevant facts, Rosenberg
institutes this adversary proceeding.

On November 27, 2017, Rosenberg instituted this
adversary proceeding against Deutsche Bank and
many of the same entities named in the probate action.
(ASA, p. 1, p. 18.)

Rosenberg’s complaint alleges six causes of action
against Deutsche Bank: (1) violation of 11 U.S.C.

section 524(a)(2); (2) violation of Federal Rules of
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Bankruptcy, Rule 3001(c)(2)(B); (8) violation of Federal
Rules of Bankruptcy, Rule 3001(c)(2)(C); (4) fraudulent
concealment; (5) violation of 18 U.S.C. section 157; and
(6) declaratory relief. (ASA, pp. 19-44.)

The gravamen of this action is fraud, recession,
and cancellation of instrument—similar to Rosenberg’s
claims in the probate action. Rosenberg alleges that the
assignments and securitization documents concerning
the loan and deed of trust were void ab initio because
they occurred after the Pooling and _ Servicing
Agreement (“PSA”) closing date. (ASA, pp. 22-32.)
Rosenberg further contends that Deutsche Bank
engaged in fraud or fraudulent concealment (also
alleged as a violation of 18 U.S.C section 157) by either:
(1) recording the assignments after the closing date, (2)
not filing a proof of claim and accompanying documents
(in purported violation of FRBP 3001(c)(2)(B) and (C)),
or (3) proceeding with the foreclosure post bankruptcy
discharge (in purported violation of 11 U.S.C. section
524(a)(2)). (ASA, pp. 33-43.)

Although not specifically plead as a cause of
action, the complaint also contained allegations of
Deutsche Bank’s alleged violation of Civil Code section
2924.17. (ASA, pp. 27-30.) This allegation is duplicative
and similar to the fraud and fraudulent concealment

causes of action set forth in the complaint. (See ASA,
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pp. 37-42.) Specifically, Rosenberg claims that on the
basis of a Limited Power of Attorney memorandum
prepared by OneWestBank’s in-house counsel, Chris
Brown, Deutsche Bank lacked the proper loan
documents to enforce foreclosure. (ASA, pp. 28-29.)
Rosenberg also alleged that the assignments and loan
securitization after the PSA closing date violated Civil
Code section 2924.17. (ASA, p. 30.)

Like the probate action, Rosenberg seeks, in this
adversary action, to invalidate the loan, deed of trust,

and block any subsequent foreclosure of the Property.

(ASA, p. 43.)

F. Deutsche Bank files its motion for judgment
on the pleadings and the bankruptcy court
grants Deutsche Bank’s motion without
leave to amend.

Defendants Ocwen Loan Serving, LLC and MERS
filed their motion for judgment on the pleadings on the
basis of Rosenberg’s failure to state any claim for which
relief could be obtained. (ASA, pp. 93-115.)

The motion challenged Rosenberg’s fraud,
recession, and cancellation of instrument claims on the
basis that they were barred by the applicable statutes
of limitations. (ASA, pp. 105-107.) The motion also

challenged Rosenberg’s standing to challenge and
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invalidate the assignments and securitization. (ASA,
pp. 112-114.) The causes of action relating to proof of
claim, injunction after discharge, and alleged fraud
relating to 18 U.S.C. 154 were challenged on the
grounds that Rosenberg either did not have standing or
there was no violation. (ASA, pp. 107-114.)

Deutsche Bank joined in Ocwen’s and MERS’
motion for judgment on the pleadings. (ASA, pp. 219-
222.)

Rosenberg opposed the motion. (ASA, pp. 224-
250.) Rosenberg argued he had standing to challenge
the assignments and securitization, and that his claims
based in fraud, recession, and cancellation of
instrument were timely because of the doctrine of
equitable tolling. (ASA, pp. 231-232.) In particular,
Rosenberg argued that equitable tolling applied
because this adversary proceeding was “a continuation
to the litigation that was initiated in 2009 [the probate
action].” (ASA, p. 231.)

Ocwen and MERS filed their reply to Rosenberg’s
opposition, and Deutsche Bank joined in their reply.
(ASA, pp. 268-274, 277-282.)

The bankruptcy court granted Ocwen’s, MERS’
and Deutsche Bank’s motion without leave to amend

and subsequently entered judgment in their favor.

(ASA, pp. 302-316.)
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The amended judgment was entered on June 7,
2018. (ASA, pp. 320-321.)
Rosenberg filed a motion to alter or amend the

judgment. (ASA, pp. 324-337.) On November 21, 2018,
Rosenberg’s motion was denied. (AOB, p. 7.)

G. This Court grants Rosenberg leave to file his
untimely opening brief.

Rosenberg filed this appeal on December 6, 2018.
(ASA, pp. 361-362.) On March 15, 2019, this Court
issued a minute order requiring Rosenberg to show
cause why the appeal should not be dismissed for lack
of prosecution. (ASA, p. 3863.) On April 1, 2019, when
Rosenberg failed to file any papers, this Court entered
the order dismissing his appeal. (ASA, p. 363.)
Subsequently, Rosenberg sought leave to vacate the
order of dismissal on the basis of illness. (ASA, p. 365.)

Over the objection of Deutsche Bank, this Court
granted Rosenberg’s request to file his opening brief no
later than June 5, 2019. (ASA, p. 364.) Rosenberg filed
his opening brief on June 5, 2019.

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III.

Standard of review.

A judgment on the pleadings is a decision on the
merits which is reviewed de novo. (8550 Stevens Creek
Assocs. v. Barclays Bank, 915 F.2d 1355, 1857 (9th Cir.
1990).)

However, the decision of a lower court denying
leave to amend following a grant of a motion for
judgment on the pleadings is reviewed for abuse of
discretion. (Lonberg v. City of Riverside, 300 F.Supp.2d
942, 945 (C.D. Cal., 2004); Crowley v. Bannister, 734
F.3d 967, 978 (9th Cir. 20138).)

IV.

Standard for judgment on the pleadings.

Pursuant to Federal Rules of Civil Procedure
Rule 12(c), after the pleadings are closed—but early
enough not to delay trial—a party may move for
judgment on the pleadings. Generally, any party may
bring a motion for judgment on the pleadings if the
motion is filed before the deadline set by the court
under Rule 16(b).

Here, the motion was filed before the Court

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scheduled a motion cut-off deadline or a trial date.
Therefore, Deutsche Bank’s joinder to Ocwen’s and
MER’s motion was timely filed.

A motion under Rule 12(c) is similar to a motion
to dismiss under Rule 12(b)(6) in that each motion tests
the legal sufficiency of the parties’ allegations.
Accordingly, the same standard apples to both
motions. (Urish Lesbian & Gay Organization v.
Giuliani, 143 F3d 688, 644 (2nd Cir. 1998).)

The standard to be applied to a Rule 12(b)(6)
motion is well established: “a court must assess
whether the complaint contains sufficient factual
matter, accepted as true, to state a claim to relief that
is plausible on its face.” (Chavez v. U.S., 683 F.3d 1102,
1108-1109 (9th Cir. 2012) [citing Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167
L.Ed.2d 929 (2007) (Twombly) and Ashcroft v. Iqbal,
556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868
(2009) Uqbal).].)

Additionally, where the claims in a complaint are
insufficiently supported by factual allegation, the
claims may be disposed of by summary dismissal.
(Balistreri v. Pacifica Police Department, 855 F.2d
1421, 1424 (9th Cir. 1988).) Although all well-pled facts

in the complaint are deemed true in ruling on a motion

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to dismiss, conclusory allegations are disregarded.
(McCarthy v. Mayo, 827 F.2d 1310, 1316 (9th Cir.
1987), emphasis added.)

As stated by the U.S. Supreme Court: “Factual
allegations must be enough to raise a right to relief
above the speculative level.” (Twombly, supra, 550 U.S.
544; Iqbal, supra, 129 U.S. 662, 678 [quoting Twombly,
supra.].)

Moreover, the Court is not limited to the
allegations of the complaint in ruling on a motion to
dismiss but can also consider any documents attached
to the complaint. (Durning v. First Boston Corp., 815
F.2d 1265, 1267 (9th Cir. 1987). The court does not
have to accept alleged facts as true when they
contradict matters subject to judicial notice. (Sears,
Roebuck & Co. v. Metropolitan Engraver, Ltd., 245 F.2d
67, 70 (9th Cir. 1956).)

Finally, Courts have the discretion to grant or
deny leave to amend a complaint. (Swanson v. U.S.
Forest Serv., 87 F.3d 339, 343 (9th Cir. 1996).) “In
exercising this discretion, a court must be guided by
the underlying purpose of Rule 15 to facilitate decision
on the merits, rather than on the pleadings or
technicalities.” (United States v. Webb, 655 F.2d 977,
979 (9th Cir. 1981).)

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The factors courts commonly consider when
determining whether to grant leave to amend are: (1)
bad faith; (2) undue delay; (8) prejudice to the opposing
party; and (4) futility of amendment. (Ditto v.
McCurdy, 510 F.3d 1070, 1079 (9th Cir. 2007) Gnternal
citations omitted).)

Dismissal without leave to amend is appropriate
when the court is satisfied that the deficiencies in the
complaint could not possibly be cured by amendment.
(Jackson v. Carey, 353 F.3d 750, 758 (9th Cir. 2003);
Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000).)

ARGUMENT

V.

The bankruptcy court properly ruled that
Rosenberg does not have standing to challenge
the assignments or securitization documents
because Rosenberg’s claims were instituted pre-
foreclosure and Rosenberg was not party to or an
intended beneficiary of the assignments or

securitization.

In the operative complaint, Rosenberg avers that
the assignments of the deed of trust were purportedly

void ab initio because the assignments by MERS, as
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nominee for Ampro Mortgage, were after the PSA
closing date.

Relying in part on Yvanova v. New Century
Mortgage Corp., 62 Cal.4th 919 (2016) (Yvanova) and
Saterbak, supra, 245 Cal.App.4th 808, the bankruptcy
court correctly ruled that since Rosenberg’s lawsuit
was pre-foreclosure, Rosenberg had no standing to
challenge the assignments or securitization documents.
(ASA, pp. 313-314.)

In his opening brief, Rosenberg contends that the
Bankruptcy Court purportedly misapplied Saterbak
and Yvanova because these cases allegedly turned on
the retroactivity and effective date of the California
Homeowners Bill of Rights (“(HBOR”). (AOB, pp. 10-11.)

Rosenberg’s argument misses the mark and fails
to appreciate the substance of these cases and the
Bankruptcy Court’s holding.

In Yvanova, supra, 62 Cal.4th at p. 924, the
California Supreme Court expressly limited its holding
to post-foreclosure actions—the court held that post-
foreclosure, borrowers have standing to challenge an
improper securitization loan deemed void. The court
did “not hold or suggest that a borrower may attempt
to preempt a threatened nonjudicial foreclosure [l.e.

pre-foreclosure] by a suit questioning the foreclosing

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party’s right to proceed.” ([bid.)

Yvanova even discussed the pre-foreclosure case
of Kan v. Guild Mortgage Co., 230 Cal.App.4th 736,
743-745 (2014), and declined to disapprove it in any
way. (Yvanova, supra, 62 Cal. 4th at p. 941.)

Saterbak and other post-Yvanova cases also
clarified that the holding in Yvanova was limited to
post-foreclosure actions, and the rules regarding pre-
foreclosure challenges (i.e. pre-foreclosure, borrowers
have no standing to challenge the assignment or
securitization) remained unchanged. (See Saterbak,
supra, 245 Cal.App.4th at p. 815.)

Like Rosenberg, the borrower in Saterbak, Laura
Saterbak, brought a pre-foreclosure action challenging
the assignment of the note and deed of trust.
(Saterbak, supra, 245 Cal.App.4th at p. 812.) Saterbak
alleged that the transfer to the trust four years after
the closing date for the security rendered the
assignment invalid. (lbid.) Saterbak, just like
Rosenberg, alleged the assignment document was
either robo-signed or a forgery. ([bid.) Saterbak’s
lender, JPMorgan Chase, demurred on the basis of her
lack of standing to challenge the assignment or
securitization. (Ibid.) The trial court sustained Chase’s

demurrer without leave to amend. (Jbid.) Saterbak

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appealed, but the Court of Appeal affirmed the trial
court’s decision.

The Court of Appeal explained that “California
courts do not allow such preemptive suits because they
would result in the impermissible interjection of the
courts into a non-judicial scheme...and impose the
additional requirement that lenders demonstrate in
court that they are authorized to initiate a foreclosure,
which is inconsistent with the policy behind nonjudicial
foreclosure providing a quick, inexpensive, and efficient
remedy.” (Id. at pp. 814-815.) Accordingly, the Court of
Appeal held, “Because Saterbak brings a _pre-
foreclosure suit challenging Defendant’s ability to
foreclose, Yvanova does not alter her standing
obligations.” Ud. at p. 815.)

Yvanova and  Saterbak recognized the
fundamental distinction between’ standing pre-
foreclosure and post-foreclosure.

Moreover, Yvanova recognized a_ borrower's
standing only where the defect in the assignment
renders the assignment void, rather than voidable.

In Yhudat, supra, 1 Cal.App.5th 1252, the court
considered the implications of Yvanova in this regard.
Yhudai held that a borrower had no standing to argue

that an assignment of a deed of trust occurring after

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the trust’s closing date in violation of the PSA was
void. In reaching this holding, the Yhudai court
analyzed void versus voidable assignments, and which
party, if any, had standing to raise the issue in the first
place. The court reasoned:

California law, the Yvanova_ court
explained, does not give a party personal
standing to assert rights or interests
belonging solely to others. When an
assignment is merely voidable, the power to
ratify or avoid the transaction lies solely
with the parties to the assignment; the
transaction is not void unless and until one
of the parties takes steps to make it so. A
borrower who challenges a foreclosure on the
ground that an assignment to the foreclosing
party bore defects rendering it voidable
could thus be said to assert an interest
belonging solely to the parties to the
assignment rather than to herself.

Ud. at. pp. 1256-1257, emphasis added, citation
omitted.)

In Mendoza v. JPMorgan Chase Bank N.A., 6
Cal.App.5th 802, 811-813 (2016) (Mendoza), the court
held that the assignment of plaintiffs deed of trust to
the investment trust after the trust’s closing date or
the alleged robo-signing of the loan documents
rendered the assignment merely voidable, and not void.
(See also Saterbak, supra, 245 Cal.App.4th at p. 815

[concluding that a transfer to the trust after the closing

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date for the security, and allegations the assignment
documents were robo-signed or a forgery was merely
voidable, not void.].)

In reaching its holding in Mendoza, the court
explained, “New York state and federal courts continue
to [hold that] a borrower does not have standing to
challenge an assignment that allegedly breaches a
term or terms of a PSA because the beneficiaries, not
the borrower, have the right to ratify the trustee’s
unauthorized acts. As a consequence, an assignment
after the publicized closing date is voidable, not void.”
(Mendoza, supra, 6 Cal.App.5th at p. 813.)

Indeed, “the Ninth Circuit [also] acknowledged
that post-Yvanova, a California borrower has standing
to challenge a void assignment, but explained, because
an act in violation of a trust agreement is voidable—
not void—under New York law, which governs the
Pooling and Service Agreement (PSA) at issue, [the
borrower] lacks standing.” (Mendoza, supra, at p. 814,
emphasis added [citing In Morgan v. Aurora Loan
Services, LLC, 646 Fed.Appx. 546, 550 (9th Cir. 2016),
accord, Zeppeiro v. GMAC Mortgage, LLC, 662
Fed.Appx. 500, 2016 WL 5800472 (9th Cir. Oct. 5,
2016, No. 18-55420).].)

In our case, it is undisputed that Rosenberg

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instituted this action pre-foreclosure. The complaint
asserts facts establishing that even if Rosenberg was
correct that the assignments and_ securitization
documents were defective (which they were not), as a
matter of law, this purported defect is only voidable,
not void. Thus, Rosenberg lacks standing to challenge
the assignments or securitization.

Even if the assignments and securitization were
void ab initio (again, as a matter of law, they were
not)—as Rosenberg contends in his complaint’—the
courts in this state have unequivocally held that a
borrower has standing to challenge void assignments
or securitization only when it is a post-foreclosure
action. (See Yvanova, supra, 62 Cal.4th at p. 924; see
also Yhudai, supra, 1 Cal.App.5th pp. 1256-1257.) Once
again, this is a pre-foreclosure action.

Accordingly, as a matter of undisputed law, since

Rosenberg was not party to the assignments or

 

3 Whether or not the assignments and securitization
documents are void or voidable is a question of law.
Rosenberg’s complaint contends that the assignments
and securitizations documents are void. (ASA, p. 24)
This is a legal conclusion. The Court is required to
assume the truth of plaintiffs factual allegations, not
his legal conclusions—the Court is not required to
assume the truth of legal conclusions that are cast in
the form of factual allegations. (Western Mining Council v.
Watt, 643 F.2d 618, 624 (9th Cir. 1981), see also Mendoza,
supra, 6 Cal.App.5th at p. 810.)

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securitization documents, or a third party beneficiary
of the assignments or securitization, Rosenberg has no
standing, pre-foreclosure (or even post-foreclosure) to
challenge the assignments or securitization.

The bankruptcy court’s ruling that Rosenberg
lacks standing to challenge the validity of the
assignments and securitization documents should be

affirmed.

VI.
Rosenberg did not state a claim for fraud or
fraudulent concealment because Rosenberg did
not suffer any injury as a result of the

assignments and securitization.

Rosenberg’s complaint also contends that when
Deutsche Bank purportedly recorded the assignments
after the PSA _ closing date, Deutsche Bank
fraudulently concealed the alleged “broken chain of
assignment to title.” (ASA, p. 37.)

In order to maintain a cause of action for
fraudulent concealment, Rosenberg must sufficiently
allege that he suffered injury or damage as a result of
the concealment. (Marketing West, Inc. v. Sanyo Fisher
(USA) Corp., 6 Cal.App.4th 608, pp. 612-618 (1992).)

Rosenberg could not, did not, and still can not
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assert any claim for fraudulent concealment because
Rosenberg did not suffer any purported damage or
injury as a result of the purported concealment or
alleged suppression of the assignments’ or
securitization.

First, as already discussed, Rosenberg has no
standing to recover for any alleged damage relating in
any way to the purported defects with the assignments
or securitization documents. Thus, Rosenberg cannot
maintain a fraudulent concealment cause of action on
the basis of the assignments or securitization.

Second, as the bankruptcy court correctly held,
“Regardless of the specific holder of the assignment,
the Property is encumbered. The harm to [Rosenberg]
is not a result of the allegedly improper assignment or
the failure of any defendant to reveal the nature of the
assignments to [Rosenberg].” (ASA, p. 314) Any
purported injury or damage is the result of the alleged
fraud by the caregiver. Thus, the bankruptcy court
accurately determined, as this Court should also find,
that Rosenberg’s claim for fraudulent concealment was
hopelessly defective.

The bankruptcy court’s ruling on Rosenberg’s
failure to state a claim for fraud and fraudulent
concealment because he did not suffer injury as a

result of the assignments and securitization should
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also be affirmed.

VII.

The complaint does not and cannot state a claim

for “violation of Civil Code section 2924.17.”

Rosenberg contends that the bankruptcy court
failed to even consider his allegations of violation of
Civil Code section 2924.17, which, according to
Resenbers, was sufficiently plead in the complaint.
(AOB, pp. 10-12.) Rosenberg is mistaken.

Rosenberg’s complaint does not specifically allege

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a cause of action for alleged “violation of section

2924.17.” (ASA, pp. 27-30.) The “General Allegations”
section of the complaint contains a section called
‘Violations of California Civil Code Section 2924.17.”
(ASA, p. 27.)

In this section, Rosenberg contends that Deutsche
Bank purportedly violated section 2924.17 because: (1)
Deutsche Bank lacked proper documentation of their
right to foreclose, and (2) the assignments of the deed
of trust occurred after the closing date of the
securitization trust. (ASA, pp. 27-30.) In purported
support of these contentions, Rosenberg cites to a

Limited Power of Attorney memorandum written by in-

house counsel for CIT Bank, N.A. (OneWestBank),
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wherein the memorandum purportedly contained the
following language: “we do not have a_ recorded
assignment into the appropriate entity.” (ASA, pp. 28-
29.)

Rosenberg contends that this language, along
with the alleged “lack of documentation” and transfer
after the closing date, support his conclusion that
Deutsche Bank violated section 2924.17. (ASA, p. 30.)
Not so.

California Civil Code section 2924.17(a)
mandates that certain documents related to the
foreclosure process, including “a notice of default,
notice of sale, assignment of a deed of trust, or
substitution of trustee recorded by or on behalf of a
mortgage servicer in connection with a foreclosure...
shall be accurate and complete and supported by
competent and reliable evidence.”

Civil Code section 2924.17(b) states, “Before
recording or filing any of the documents described in
[section 2924.17(a)], a mortgage servicer shall ensure
that it has reviewed competent and reliable evidence to
substantiate the borrower's default and the right to
foreclose, including the borrower’s loan status and loan
information.”

Civil Code section 2924.12 provides borrowers a

private right of action to enforce section 2924.17.
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Specifically, section 2924.12(a)(1) states, “If a trustee’s
deed upon sale has not been recorded, a borrower may
bring an action for injunctive relief to enjoin a
material violation of [section 2924.17]. (Emphasis
added.) Section 2924.12(b) further states, “After a
trustee’s deed upon sale has been recorded, a mortgage
servicer, mortgagee, trustee, beneficiary, or authorized
agent shall be liable to a borrower for actual economic
damages...resulting from a material violation of
[section 2924.17].” (Emphasis added.)

The use of the phrase “material violation” is key.

In interpreting section 2924.12, some Ninth
Circuit Courts have “deemed a violation ‘material’ if it
is plausible that the violation caused the plaintiff to
suffer harm.” (Cardens v. Caliber Home Loans, Inc.,
281 F.Supp.3d 862, 869 (9th Cir. 2017) (Cardens)
[citing Mackensen v. Nationstar Morg. LLC, 2015 WL
1938729, at *7 (N.D. Cal. Apr. 28, 2015) (stating that
but for defendant’s alleged violation, plaintiff “may
have been able to keep [his] house”) and Salazar v.
U.S. Bank N.A., 2015 WL 1542908, at *7 (C.D. Cal.
Apr. 6, 2015) (stating, “it is plausible that [defendant’s
compliance] would have prevented Plaintiff from
suffering the loss of her home, ruined credit, emotional

distress, and a future inability to purchase a home.”).].)

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“(T]he court in Johnson v. PNC Mortgage, 2014
WL 6629585 (N.D. Cal. Nov. 21, 2014) (Johnson),
equated a ‘material’ violation to one that affected [the
plaintiffs] loan obligations or the loan modification
process. [Citation omitted]. Applying this definition,
the Johnson court concluded that a sham assignment
of a loan from one lender to another is not a ‘material’
violation of § 2924.17 because such an assignment does
not affect the borrower’s payment obligations under the
loan. [Citation omitted].” (Cardenas, supra, 281
F.Supp.3d at p. 869-870; see also Cornejo v. Ocwen
Loan Servicing, LLC, 151 F.Supp.3d 1102, 1113 (E.D.
Cal. 2015) [“Courts have interpreted the term
‘material’ to refer to whether the alleged violation
affected a plaintiffs loan obligations or _ the
modification process. ’].)

Indeed, Saterbak, supra—which Rosenberg
contends supports his violation of section 2924.17
claim—explicitly agreed with the analysis in Johnson,
supra.

Even accepting Rosenberg’s factual allegations as
true (they are not), Rosenberg does not state a claim
for violation of section 2924.17 because there was no
“material violation.”

Rosenberg does not allege any facts indicating

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that Deutsche Bank’s purported lack of documentation,
the Limited Power of Attorney memorandum, or
alleged unauthorized recording of the assignments
after the closing date of the securitization trust,
affected Rosenberg’s loan obligations, disrupted
Rosenberg’s loan modification process, or caused
Rosenberg to suffer any harm he would not have
otherwise suffered.

Rosenberg’s allegation of violation of section
2924.17 also fails because it is derivative and identical
to Rosenberg’s fraudulent concealment cause of action,
which as already discussed, is without merit.

The order specifically addressed Rosenberg’s
fraudulent concealment cause of action. The
bankruptcy court determined that Rosenberg could not
sufficiently state any claim on the basis of this cause of
action because Rosenberg had no standing, the claims
were time-barred, and the assignments and
securitization did not result in any injury to Rosenberg.

Thus, although the order does not specifically
mention or analyze the alleged section 2924.17
violation, because this claim was derivative and
identical to other causes of action which the court
specifically considered and rejected, the bankruptcy
court need not echo its analysis on the section 2924.17

claim.
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Moreover, it is undisputed that section 2924.17
does not create a pre-foreclosure right to litigate
whether the foreclosing party (ie. Deutsche Bank)
actually has the right to foreclose. In other words, a
borrower cannot use section 2924.17 to assert pre-
foreclosure challenges about the foreclosing party’s
right to foreclose. (Cardenas, supra, 281 F.Supp.3d at
p. 870 [citing Lucioni v. Bank of America, N.A., (2016)
3 Cal.App.5th 150, 163.) Therefore, for this additional
reason, Rosenberg’s section 2924.17 claim is meritless.

The bankruptcy court properly addressed,
analyzed, and rejected Rosenberg’s section 2924.17
claim.

VIII.
Any claims involving forgery, cancellation of
instrument, or rescission are time barred, and
the doctrines of equitable tolling and continuing

violation do not apply.

The bankruptcy court ruled that the three and
four year statutes of limitations applicable to
Rosenberg’s claims for forgery, cancellation of
instrument, and recession were time-barred and the
doctrine of “equitable tolling” did not apply. (ASA, p.
311.) The court also determined that Rosenberg’s claim

that the bankruptcy adversary action was merely a
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“continuation” of the prior probate case was unavailing
because “there is no authority supporting [the]
argument [that]... a bankruptcy court adversary
proceeding is [] a continuation of the state court
probate proceeding.” (ASA, p. 311.)

In his opening brief, Rosenberg argues that the
bankruptcy court misapplied the doctrine of equitable
tolling, which Rosenberg argued in his opposition to
the motion for judgment on the pleadings. (AOB, p. 18,
ASA, p. 24, 231-232.) However, for the first time ever,
Rosenberg now contends, in this appeal, that the
bankruptcy court’s alleged failure “to consider” alleged
evidence of continuing fraud on the part of Deutsche
Bank, deprived Rosenberg of the opportunity to avail
himself of the doctrine of continuous accrual or
continuing violation. (AOB, p. 13.)

Rosenberg is once again mistaken.

The doctrines of equitable tolling and continuous
accrual are not available to Rosenberg, thus

Rosenberg’s claims are time-barred.

A. The applicable three and four year
statutes of limitations.

“An action upon any contract, obligation or

liability founded upon an instrument in writing [and

an] action based upon the rescission of a contract in
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writing”? must be commenced within four years of
discovery. (Code of Civil Procedure section 337 (a) and
(c).) “Where the ground for rescission is fraud or
mistake, the time shall not begin to run until the
discovery by the aggrieved party of the facts
constituting the fraud or mistake.” (Code of Civil
Procedure section 337(c).)

An action for cancellation of instrument must
likewise be instituted within four years of the
discovery of the facts giving rise to the action. (Code of
Civil Procedure §343; Zakaessian v. Zakaessian (1945)
70 Cal.App. 2d 721, 725.)

Finally, “[a]n action for relief on the ground of
fraud or mistake[,] [which] is not deemed to have
accrued until the discovery, by the aggrieved party, of
the facts constituting the fraud or mistake[,|” must be
commenced within three years. (Code of Civil
Procedure §338(d).)

The gravamen of Rosenberg’s action is fraud and
recession and cancellation of the instruments on the
basis of fraud by the caregiver.

Rosenberg admits, in his complaint and
opposition to the motion for judgment on the pleadings,
that he learned of the alleged forgery of the deed of
trust and promissory note by August 29, 2009, maybe

sooner. (ASA, p. 21, 231 [lines 11-15].)
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Three years from August 29, 2009 is August 29,
2012; four years after is August 29, 2013.

Rosenberg did not institute this bankruptcy
adversary proceeding until November 27, 2017—
almost nine years after the time he admitted to
discovering the alleged fraud or forgery.

Therefore, Rosenberg’s claims based on fraud,
forgery, recession, and cancellation of instrument—
which is every claim in the complaint—are time-

barred.

B. The doctrine of equitable tolling is
inapplicable because Rosenberg did
not diligently, reasonably, and in good-
faith pursue the probate action or
adversary proceeding.

Rosenberg’s opening brief contends that the
applicable statutes of limitations were equitably tolled
because in August 2009 he instituted the probate
action. (AOB, pp. 12-13.)

Specifically, Rosenberg argues that since the
probate action was purportedly timely filed and then
dismissed, the subsequent filing of this action in 2017
was equitably tolled because he was pursuing all
possible remedies to resolve the issues raised in this

action. (AOB, pp. 12-13.) Therefore, according to
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Rosenberg, this lawsuit is not time barred.

This argument misses the mark.

Equitable tolling, like the name suggests, is
based in equity, and in appropriate circumstances,
equity will toll the statute of limitations while a
plaintiff who has several legal remedies for the same
harm pursues one of those remedies reasonably and
in good faith. (McDonald v. Antelope Valley
Community College Dist., 45 Cal.4th.88, 100 (2008),
emphasis added.)

Invocation of the doctrine requires: (1) timely
notice to the defendant against whom the doctrine will
apply given at or about the time of seeking the first
remedy; (2) lack of prejudice to the defendant in
gathering evidence and preparing for the second
remedy; and (8) good faith and reasonable conduct by
the plaintiff. (Addison v. State of California, 21 Cal.3d
318, 318 (1978) (Addison).) The mere fact that the
plaintiff has previously filed an action that was
terminated is insufficient for tolling under this
doctrine. (See Wood v. Elling Corp., 20 Cal.3d 358, 359-
360 (1977).) The equitable tolling doctrine looks
principally to whether there has been reasonable

conduct and excusable delay on the part of the

plaintiff.

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“TE ]quitable tolling is not available to a plaintiff
whose conduct evidences an intent to delay disposition
of the case without good cause; and it is certainly not
available to a plaintiff who engages in the
procedural tactic of moving the case from one
forum to another in the hopes of obtaining more
favorable rulings.” (Mitchell v. Frank R. Howard
Memorial Hospital, 6 Cal.App.4th 13896, 1407-1408
(1992) (Mitchell), emphasis added [citing In Bacon v.
City of Los Angeles, 843 F.2d 372 (9th Cir. 1988) and
Ervin v. Los Angeles County, 848 F.2d 1018 (9th Cir.
1988).)

In our case, the complaint alleges that in or
around August 29, 2009, Rosenberg instituted the
probate action. The probate action challenged Deutsche
Bank’s right to foreclose on the basis of the purportedly
forged deed of trust and note.

After almost six years of prosecuting the probate
case, Rosenberg appeared at a hearing in January 2015
and asked the trial court to dismiss the probate action
in its entirety. (ASA, pp. 218-215.) The judicially
noticed evidence (the Court of Appeal’s decision)
established that Rosenberg had sought a dismissal of
the probate action pursuant to Code of Civil Procedure

583.310, which mandates that all actions shall be

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diligently prosecuted and brought to trial within five
(5) years of commencement. (ASA, p. 213.)

Rosenberg’s request was granted and the probate
action was dismissed with prejudice. (ASA, p. 204, 214-
215.) Rosenberg appealed the dismissal and the Court
of Appeal reversed the order of dismissal, ordering the
petition dismissed without prejudice. (ASA, p. 217.)

Rosenberg then filed the underlying Chapter 7
Bankruptcy case in June 2017. (ASA, p. 264.)
Rosenberg admits, in his opening brief, that he filed
the bankruptcy case in order to pursue his remedies in
bankruptcy court, rather than probate court (AOB, p.
13), which again he failed to diligently prosecute,
resulting in its dismissal.

On November 27, 2017, over two years after
dismissing the probate action and almost nine years
after discovering the fraud and relevant facts,
Rosenberg finally instituted this adversary proceeding.
(ASA, p. 1, 18.)

The facts alleged in the complaint, taken as true,
establish that equitable tolling is inapplicable because
Rosenberg’s conduct was not diligent, reasoned, or in
good-faith. The facts confirm that Rosenberg was not
acting diligently or with reason when he prosecuted the
probate matter for almost six years, dismissed it,

petitioned for bankruptcy, and then filed this
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adversary proceeding.

The facts also substantiate a finding that
Rosenberg was essentially engaging in “forum
shopping.” Equitable tolling cannot be used to support
a plaintiffs litigation decision to forum shop. (See
Mitchell, supra, 6 Cal.App.4th at pp. 1407-1408.)

Further, Deutsche Bank was prejudiced by the
institution of this lawsuit because any reasonable
defendant would have believed that after Rosenberg
dismissed the probate action, he had no intention of
later pursuing another identical action or remedy more
than two years later.

The emphasis on diligence and reasoned
prosecution that does not result in prejudice to the
defendant is meant to prevent evidence from becoming
stale and memories from fading away. (Addison, supra,
21 Cal.3d. at p. 317 [The right to be free of stale
claims in time comes to prevail over the right to
prosecute them.”].) This public policy goal is not
achieved by Rosenberg’s nine year delay in bringing
this action.

Finally, since equitable tolling requires the
balancing of equities, Rosenberg cannot avail himself of
this doctrine because Rosenberg did not act equitably.
In the probate action, the court issued evidentiary

sanctions against Rosenberg for repeated discovery
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violations and gamesmanship—the motion was
brought by Deutsche Bank. (ASA, pp. 14-15.) In
eranting Deutsche Bank’s motion, the probate court
had in essence determined that Rosenberg had not
acted equitably or in good-faith when dealing with
Deutsche Bank. (ASA, p. 15.) Thus, Rosenberg is not
entitled to equitable relief in his favor and against
Deutsche Bank.

The bankruptcy court was _ correct—the
complaint, including, any forgery, fraud, recession, or
cancellation of instrument causes of action are time-
barred. No subsequent amendment can cure this fatal

defect.

C. The doctrine of continuing violation is
equally not applicable to this case
because the assignments of the deed of
trust are not “new and independent”
acts and Rosenberg has not suffered
any injury as ae result: of the
assignments or securitization
document.

Rosenberg’s complaint did not plead Deutsche

Bank’s alleged “continued fraud” or “continuing
violation” and Rosenberg did not raise this argument in

his opposition to the motion for judgment on the
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pleadings. Thus, Rosenberg should be barred from
raising this argument for the first time in this appeal.
(See In re Mortg. Electronic Registration Systems, Inc.,
supra, 555 Fed.Appx at p. 665.)

Even if Rosenberg pled or argued “continued
fraud,” the doctrine of continuing violation does not
apply to this case.

Under the “continuing violation” doctrine, “each
overt act that is part of the [violation] and that
injures the plaintiff [|] starts the statutory period
running again, regardless of the plaintiffs knowledge
of the alleged illegality at much earlier times.” (Ryan v.
Microsoft Corporation, 147 F.Supp.3d. 868, 883 (N.D.
Cal. 2015) (Ryan), emphasis added, citation omitted.)

“In the Ninth Circuit, an overt act restarts the
statute of limitations if it: (1) is ‘a new and
independent’ act that is not merely a reaffirmation of a
previous act; and (2) inflict[s] new and accumulating
injury on the plaintiff.” (Ryan, supra, 147 F.Supp.3d. at
p. 888, citation omitted.)

In Ryan, plaintiffs filed suit requesting the Court
find Microsoft engaged in continuing violations by
maintaining and renewing existing agreements entered
into before 2009. Ud. at pp. 884-885.) The District

Court rejected plaintiffs’ argument.

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The Court held, “Maintaining and reaffirming
prior agreements do not suffice to show an overt act.
[T]he continuing violation doctrine requires Plaintiffs
to allege a new and independent act that is not merely
a reaffirmation of a previous act.” (Ryan, supra, 147
F.Supp.3d. at p. 885 [quoting Pace Industries, Inc. v.
Three Phoenix Co. 813 F.2d 234, 237 (9th Cir. 1987);
also quoting In re Multidistrict Vehicle Air Pollution,
591 F.2d 68, 71-72 (9th Cir. 1979) [holding that the
defendants’ refusal during the limitations period to
purchase afterburner devices from a_ particular
company did not constitute an overt act to restart the
limitations period because the defendants’ refusal was
based on an agreement entered into prior to the
limitations period].].)

In the case at bar, Rosenberg contends that
Deutsche Bank’s continued filing of the alleged
fraudulent and unverified assignments amounted to
continuing violation. Not so.

The assignments stemmed from one agreement—
the deed of trust and promissory note—entered into
prior to the limitation period. Assignments of the same
deed of trust and promissory note are not “new and
independent” act, it is merely a reaffirmation of the
terms and conditions of the loan and trust deed. It is

not a new agreement.
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Further, in order to allege “continuing violation,”
Rosenberg was required to alleged sufficient facts that
he was injured by the assignments and securitization.
As discussed above, not only is it impossible, as a
matter of law, for Rosenberg to establish injury on the
basis of the assignments and securitization, Rosenberg
has no standing to challenge the assignments or
securitization.

The continuing violation doctrine does not shield
Rosenberg’s complaint from the applicable statues of
limitations. The bankruptcy court properly held that
Rosenberg’s action is time-barred and could not be

amended.

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IV.

Conclusion.

For the forgoing reasons, Deutsche Bank

respectfully requests that this Court affirm the

bankruptcy court’s decision. Rosenberg’s adversary

action against Deutsche Bank is time-barred and

Rosenberg lacks standing to assert the claims; no

amount of amendments can cure these defects.

DATED: August 2, 2019

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CERTIFICATE OF COMPLIANCE

PURSUANT TO FEDERAL RULES OF
BANKRUPTCY PROCEDURE, RULE 8015 subd.
(h)— TYPE-VOLUME LIMITATION

I hereby certify that the foregoing, Appellee’s
Brief, contains a total of 7,988 words. In reaching this
total, I relied on the word count of the computer
program used to prepare this brief. This certification is
prepared in accordance with Federal Rules of
Bankruptcy Procedure rule 8015, subdivision (h),
stating the number of words in a brief may not exceed

13,000 words.

DATED: August 2, 2019 GARRETT & TULLY, P.C.
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CERTIFICATE OF SERVICE
I hereby certify that on August 2, 2019 I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which

 

will send notification of such filing to the e-mail addresses denoted on
the attached Electronic Mail Notice List, and I hereby certify that I have
mailed the foregoing document or paper via the United States Postal
Service to the non-CM/ECF participants indicated on the attached
Manual Notice List.

VIA U.S. MAIL

Steven Mark Rosenberg
106-1/2 Judge John Aiso St., #225
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I certify under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct. Executed on

August 2, 2019.

/s/Linda C. Lozano

 

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